                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                 2:12 cr 33-2


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )              ORDER
                                                   )
KENNETH ASHE,                                      )
                                                   )
                  Defendant.                       )
____________________________________               )


        THIS MATTER has come before the undersigned pursuant to a Motion to Withdraw Plea

of Guilty (#102) filed by counsel for Defendant.   At the call of this matter on for hearing on

October 31, 2013, it appeared that Defendant was present with his attorney, Fredilyn Sison, and

the Government was present through Assistant United States Attorney Tom Kent. At the call of

the matter on for hearing, Ms. Sison moved to withdraw the motion to which the Government

had no objection.

                                           ORDER

        IT IS, THEREFORE, ORDERED that the Motion to Withdraw Plea of Guilty (#102) is

hereby ALLOWED to be withdrawn.



                                                            Signed: November 4, 2013




                                            1
      Case 2:12-cr-00033-MR-WCM         Document 126       Filed 11/04/13         Page 1 of 1
